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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :       Case No. 1:21-cr-444 (JEB)
              v.                           :
                                           :
BRIAN CHRISTOPHER MOCK,                    :
                                           :
                     Defendant.            :

          GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO
         MODIFY BOND CONDITIONS (GPS-MONITORING AND CURFEW)

       Defendant Brian Mock moves this Court to remove two conditions of his pretrial release—

GPS monitoring and curfew. See ECF No. 62. On February 9, 2023, the Court ordered the

government to file any opposition by February 15, 2023. The government does not take a position

regarding the defendant’s motion.


                                                   Respectfully submitted,

                                                   MATTHEW M. GRAVES
                                                   UNITED STATES ATTORNEY
                                                   D.C. Bar Number 481052


                                           By:     /s/ Michael L. Jones
                                                   MICHAEL L. JONES
                                                   DC Bar No. 1047027
                                                   Trial Attorney
                                                   Capitol Riot Detailee
                                                   U.S. Attorney’s Office
                                                   District of Columbia
                                                   (202) 252-7820
                                                   michael.jones@usdoj.gov
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                               CERTIFICATE OF SERVICE

       On this 13th day of February 2023, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.

                                                     /s/ Michael L. Jones
                                                     Michael L. Jones
                                                     Trial Attorney
